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                         THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 FAITH BENSON, individually and on behalf
 of all others similarly situated,            C.A.No.: 1:24-cv-01118-GBW

                         Plaintiff,

 vs.

 SIMPLENURSING, LLC,

                         Defendant.


  DEFENDANT’S MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO
                DISMISS PURSUANT TO F.R.C.P. 12(B)(6)



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Dated: January 3, 2025
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                                        INTRODUCTION

       This lawsuit is an example of one more misguided attempt by litigants to hunt out well-

intended narrowly tailored laws from a pre-internet time—in this case the Video Privacy Protection

Act (“VPPA”)—and, through a tortured interpretation of the same, claim that common current,

well-established online conduct somehow violates that statute. Here, at its root, the plaintiff, Faith

Benson (“Plaintiff”) through her counsel, accuses SimpleNursing, LLC (“SimpleNursing” or

“Defendant”) of violating the VPPA based on the claim that Defendant’s alleged use of the

Facebook “Meta Pixel” transmitted video viewing information to Facebook. Compl. ¶ 2.

       Plaintiffs’ lawsuit is deficient for several reasons. First, the VPPA simply does not cover

the actions of an entity like SimpleNursing. Second, the Complaint does not establish with any

particularity any specific tangible personally identifiable information (“PII”) alleged to have been

transmitted along with video information—as required by the VPPA. See 18 U.S.C. § 2710

(proscribing “video tape service providers” (“VTSPs”) from knowingly disclosing “personally

identifiable information” (“PII”)—specifically, information that identifies a consumer and the

“video cassette tapes or similar audio-visual materials” they purchased or rented—without the

consumer’s consent.”)

       The VPPA was born out of a very specific incident in American history. During Judge

Robert Bork’s Supreme Court confirmation hearings, a newspaper obtained and published, without

Judge Bork’s consent, a list of 146 films that Judge Bork and his family rented from a local video

store. S. Rep. No. 100-599, at 5. (1988). This invasion of privacy prompted Congress to enact a

law with the goal of “preserv[ing] personal privacy with respect to the rental, purchase or delivery

of video tapes or similar audiovisual materials.” Id. at 1. As is clear from a plain reading of the




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statute, and acknowledged by the Courts,1 the statute was intended to be construed, “quite

narrow(ly).” Ignoring that, Plaintiff in this matter is attempting to stretch the law beyond its limits

hoping to obtain potentially millions of dollars in damages against a defendant that does not even

qualify as a video tape service provider under the Act. Defendant offers educational lectures as

part of a broader suite of educational materials to assist nursing students in preparing for school

and standardized exams such as the NCLEX-RN, TEAS, and NCLEX-PN. Educational lectures,

however, are not the type of “prerecorded video cassette tapes or similar audiovisual materials”

covered by the VPPA—which was directed towards the disclosure of one’s recreational movie and

entertainment viewing habits.

          Not only does Plaintiff attempt to bring a claim against an entity that cannot violate the

Act, but Plaintiff fails to adequately allege that Defendant disclosed Plaintiff’s PII in violation of

the VPPA. Plaintiff claims that Defendant disclosed Plaintiff’s Facebook ID (“FID”) and the fact

that Plaintiff purchased a subscription to access the video materials or services on Defendant’s

website, www.simplenursing.com (the “Website”). See Compl. ¶ 3. An FID is not PII, however,

because, pursuant to the “ordinary person” standard adopted by the Third Circuit, an ordinary

person would not be able to identify Plaintiff based on Plaintiff’s FID alone. See In re Nickelodeon

Consumer Privacy Litigation, 827 F.3d at 290 (3rd Cir. 2016). Similarly, and perhaps more

importantly, disclosure of a “subscription” to access content on a website, as alleged by Plaintiff,

is not the same as disclosing actual, specific cassette tapes or audio-visual materials

watched/rented by a specific person.

          Accordingly, and as discussed in more detail below, Plaintiff’s VPPA claim should be

dismissed pursuant to Federal Rule of Civil Procedure §12(b)(6).



1
    See e.g., In re Nickelodeon Consumer Privacy Litigation, 827 F.3d 262, 284 (3d Cir. 2016).


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                                        BACKGROUND

   A. Defendant SimpleNursing, LLC

   Defendant is a Delaware limited liability company. Defendant operates the website,

www.simplenursing.com, where it offers educational resources on a subscription basis for students

preparing for nursing school and standardized exams, such as the NCLEX-RN, TEAS, and

NCLEX-PN. See Compl. ¶ 14; see also SIMPLENURSING, www.simplenursing.com (last visited

Dec. 30, 2024). The resources Defendant offers through these subscriptions include lectures in the

form of short video-clips, study guides, and practice questions. Id.

   B. Plaintiff’s Allegations

   According to the Complaint, Plaintiff is a citizen and resident of Orange County, Florida. See

Compl. ¶ 7. Plaintiff claims she purchased a subscription on or about June 23, 2023, to access the

video products and services offered on the Website. Id. at ¶ 9. Plaintiff alleges that, at all times

when purchasing a subscription to the Website and accessing the materials offered through her

subscription, Plaintiff had a Meta account, a Meta profile, and a Facebook ID (“FID”). Id. at ¶ 11.

   Plaintiff’s allegations center on a website tool known as the “Meta Pixel,” a string of code

which Plaintiff alleges Defendant installed on the Website. Id. at ¶ 2. Plaintiff asserts whenever

Plaintiff or another subscriber requested or obtained a subscription to gain access to Defendant’s

Website, Defendant disclosed, through the Meta Pixel, that a subscriber requested or obtained a

subscription to access the video materials or services on the Website, along with FID of the

subscriber, to Meta. Id. at ¶ 3, 52. Plaintiff alleges that the FID, a unique sequence of numbers,

can be used to identify a particular person because entering the FID into the URL

www.Facebook.com/FID returns the Meta profile of the person to whom the FID corresponds. Id.

at ¶ 3. Plaintiff does not allege that her Meta profile contained any of her personal information.




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Moreover, Plaintiff does not allege anywhere in the Complaint that Defendant disclosed to Meta

specific videos Plaintiff requested or obtained from Defendant.

   C. The VPPA Claim and Proposed Class

   The Complaint asserts a single cause of action against Defendant for a violation of the VPPA

on behalf of Plaintiff and the proposed class. See Compl. ¶ 63-71. Plaintiff seeks to represent a

class defined as all persons in the United States who, during the two years preceding the filing of

this action, purchased a subscription to access prerecorded video materials or services from the

Website while maintaining an account with Meta Platforms, Inc., f/k/a Facebook, Inc. Id. at ¶ 57.

Plaintiff claims that Defendant violated the VPPA by disclosing Plaintiff and the class’s “private

viewing information” which is defined in the Complaint to include their FID and purchase of a

subscription to the Website to access prerecorded video content. Id. at ¶¶ 3; 70.

                                      LEGAL STANDARD

   A 12(b)(6) motion to dismiss “tests the legal sufficiency of the allegations in the complaint.”

Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). A complaint must be dismissed pursuant to

Rule 12(b)(6) where the plaintiff fails to allege sufficient facts “to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 697, 129 S. Ct. 1937, 1960, 173 L. Ed. 2d

868 (2009). “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw a reasonable inference that the defendant is liable for the misconduct alleged.”

Id. This “requires more than labels and conclusions, and a formulaic recitation of the elements of

a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955,

1959, 167 L. Ed. 2d 929 (2007). At a motion to dismiss stage, “[t]he Court is not obligated to

accept as true ‘bald assertions,’ ‘unsupported conclusions and unwarranted inferences, or

allegations that are self-evidently false.’” Pinnavaia on behalf of Pinnavaia v. Celotex Asbestos




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Settlement Tr., 271 F. Supp. 3d 705, 708 (D. Del. 2017), aff'd, No. 17-3184, 2018 WL 11446482

(3d Cir. Apr. 6, 2018).

                                          ARGUMENT

   A. The Complaint Must be Dismissed Because Defendant is not a “Video Tape Service
   Provider” under the VPPA

   The protections of the VPPA are narrow. To be liable under the VPPA, an entity must qualify

as a “video tape service provider.” A “video tape service provider” means “any person, engaged

in the business…of rental, sale, or delivery of prerecorded video cassette tapes or similar audio

visual materials.” 18 U.S.C.A. § 2710(a)(4). Defendant’s subscription-based educational training

service is distinct from the “video tape service providers” that the VPPA was meant to regulate.

   In interpreting a statute, the Court’s role “is to give effect to Congress’s intent, which [the

Court] assume[s] is expressed in the ordinary meaning of the statutory language.” Long v. Tommy

Hilfiger U.S.A., Inc., 671 F.3d 371, 374 (3d Cir. 2012). In addition to construing the statute’s

ordinary meaning, the Court must also consider “the overall object and policy of the statute and

avoid constructions that produce odd or absurd results or that are inconsistent with common sense.”

Id.; see also In re Nickelodeon Consumer Privacy Litigation, 827 F.3d 262, 284 (3d Cir. 2016)

(“[A law] must be construed in light of [its] basic purpose.”). Congressional intent may also be

discerned by the statute’s legislative history. Bruesewitz v. Wyeth Inc., 561 F.3d 233, 244 (3d Cir.

2009), aff'd sub nom. Bruesewitz v. Wyeth LLC, 562 U.S. 223, 131 S. Ct. 1068, 179 L. Ed. 2d 1

(2011).. Courts may take judicial notice of a statute’s legislative history. Comm'r v. Bilder, 289

F.2d 291, 298 (3d Cir. 1961), rev'd, 369 U.S. 499, 82 S. Ct. 881, 8 L. Ed. 2d 65 (1962) (internal

citations omitted).

   In enacting the VPPA, Congress intended to protect against the public disclosure of a person’s

movie and entertainment viewing habits, not educational lectures a person views for a professional



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 purpose such as those included on Defendant’s Website. The intent of Congress in enacting the

 VPPA is clear from the text of the statute and its legislative history. The formal title of the statute

 – “Wrongful disclosure of video tape rental or sales records”– reflects that the focus is on

 entertainment content demonstrating the subjective interests and proclivities of an individual. This

 is reinforced by the statutory language itself: The VPPA does not apply to all or any audiovisual

 content; it applies only to audiovisual content that is similar to the prerecorded video cassette tapes

 Congress had in mind when it enacted the VPPA. The nursing lectures available on Defendant’s

 Website, in the form of short video clips, are not the same or even comparable to the movies that

 prompted the VPPA’s passage.

     An examination of the legislative history of the VPPA demonstrates that Congress was

 concerned specifically with protecting a person’s privacy in the movies that a person watches at

 home, and not generally with regards to any audio or visual content they happen to observe in the

 course of their lives. As noted in the Senate Report, “[t]he impetus for [the VPPA] occurred when

 a weekly newspaper in Washington published a profile of Judge Robert H. Bork based on the title

 of 146 films his family had rented from a video store.” S. Rep. No. 100-599, at 6. (1988).

 Testimony in the legislative record for the statute’s passage also highlight the focuses exclusively

 on movies, as opposed to other type of video content. During the joint hearing for the VPPA,

 Representative Al McCandless, the sponsor of the legislation, stated “[t]here’s a gut feeling that

 people ought to be able to read books and watch films without the whole world knowing. Books

 and films are the intellectual vitamins that fuel the growth of individual thought.”2 Janlori

 Goldman, counsel for the American Civil Liberties Union, testified that “[t]he movies we view in



 2
  Video and Library Privacy Protection Act of 1988: Joint Hearing on H.R. 4947 and S. 2361 Before the Subcomm.
 on Cts., C.L., & the Admin. of Just. of the H. Comm. on the Judiciary and the Subcomm. on Tech. & the Law of the
 S. Comm. on the Judiciary, 100th Cong. 54 (1998).


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 the privacy of our home and the books we borrow from the library may reveal sensitive information

 about us and should not be disclosed absent a compelling State interest in the information. Passage

 of [the Act] will be an important step towards allowing individuals to maintain some control over

 this information.” Id. at 54.

    That the VPPA was intended to protect against specific disclosure of specific video content,

 i.e., movies of an entertainment variety, has been reinforced by several court’s interpretation of

 the VPPA. See, e.g, In re Hulu Priv. Litig., 86 F. Supp. 3d 1090, 1095 (N.D. Cal. 2015)

 (acknowledging that no “brick and mortar” store was required for an entity to be regulated by the

 VPPA, but holding that, “The point of the VPPA, after all, is not so much to ban the disclosure of

 user or video data” but “to ban the disclosure of information connecting a certain user to certain

 videos.”). Specifically, in Pileggi v. Washington Newspaper Publishing Company, the District

 Court for the District of Columbia noted that the defendant, a conservative news media company

 that provided news articles and a weekly magazine along with online video content, would likely

 not be considered a video tape service provider under the Act. No. CV 23-345 (BAH), 2024 WL

 324121, at *8 n.7 (D.D.C. Jan. 29, 2024). The Court observed that “the treatment of the audiovisual

 content available on [the defendant’s] website as ‘similar audio visual materials’ to ‘prerecorded

 video cassette tapes,’ is an expansion beyond the statute’s historical context…and possibly beyond

 the scope of the textual tie requiring such content to be ‘similar’ to a video cassette tape.” Id.

 Similarly, in this case a subscription to the nursing lectures available on the Website are simply

 too unlike the entertainment related video cassette tapes that led Congress to pass the VPPA.

    B. The Complaint Should be Dismissed Because the Complaint Fails to Allege that
    Defendant Disclosed Personally Identifiable Information Belonging to the Plaintiff as
    required by the VPPA

    Even if this Court determines that Defendant’s nursing lectures qualify as “similar audiovisual

 materials” under the VPPA, the Complaint must be dismissed because Plaintiff fails to plead


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 sufficient facts to plausibly allege that Defendant disclosed Plaintiff’s PII. To state a claim under

 the VPPA, “a plaintiff must allege that ‘[a] video tape service provider…knowingly disclose[d],

 to any person, personally identifiable information concerning any consumer of such provider.” In

 re Nickelodeon Consumer Privacy Litigation, 827 F.3d at 279 (3d Cir. 2016). “Personally

 identifiable information under the VPPA “includes information which identifies a person as having

 requested or obtained specific video materials or services from a videotape service provider.” 18

 U.S.C. § 2710(a)(3) (emphasis added). Thus, the definition of “personally identifiable

 information” includes three factual components: (1) a consumer’s identity, (2) the identity of the

 specific video materials, and (3) the fact that the person identified requested or obtained that

 material. In re Hulu Priv. Litig., 86 F. Supp. at 1095 (N.D. Cal. 2015).

    Here, Plaintiff alleges that Defendant disclosed her FID and the fact that she purchased a

 subscription to access the video materials and services on the Website. Plaintiff fails, however, to

 allege that an ordinary person is capable of identifying Plaintiff through the FID or that Defendant

 disclosed the specific video materials she requested or obtained through her subscription to the

 Website. Where a plaintiff in a VPPA case does not adequately allege the disclosure of personally

 identifiable information to a third party, that plaintiff’s claim must be dismissed. Ellis v. Cartoon

 Network, Inc., No. 1:14-CV-484-TWT, 2014 WL 5023535, at *3 (N.D. Ga. Oct. 8, 2014), aff'd on

 other grounds, 803 F.3d 1251 (11th Cir. 2015).

                1. A Facebook ID Does Not Constitute Personally Identifying Information

    Whether an FID constitutes PII has not been addressed by this Court. However, under the test

 set forth by the Third Circuit in In re Nickelodeon Consumer Privacy Litigation, a decision binding

 upon this Court, an FID does not meet the definition of PII.

    In In re Nickelodeon, the Third Circuit established a standard for determining what type of

 information constitutes PII. See 827 F.3d at 290 (3d Cir. 2016). The Third Circuit held that


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 “personally identifiable information under the Video Privacy Protection Act means the kind of

 information that would readily permit an ordinary person to identify a specific individual’s video-

 watching behavior.” Id. (emphasis added). Under this standard, with respect to an FID, it is not

 enough that Meta could be expected to be able to identify users based on their FIDs, but whether

 an “ordinary person” could use the FIDs to identify individual users. See Stark v. Patreon, Inc.,

 635 F. Supp. 3d 841, 853 (N.D. Cal. 2022). The classic example that meets the “ordinary person”

 standard “will always be a video clerk leaking an individual customer’s video rental history.” See

 827 F.3d at 290 (3d Cir. 2016). [E]very step from that 1988 paradigm will make it harder for a

 plaintiff to make out a successful claim.” Id.

    In Nickelodeon, the Court considered whether three pieces of information met this standard:

 (1) “a user’s IP address, ‘a number assigned to each device that is connected to the Internet that

 permits computer-specific online tracking,” (2) “a user’s browser and operating system settings,

 which comprise a so-called ‘browser fingerprint,” and (3) “a computing device’s ‘unique device

 identifier.’” Id. at 282. The Court concluded that all three categories of “static digital identifiers”

 were not PII because “[t]o an average person, an IP address or a digital code in a cookie file would

 likely be of little help in trying to identify an actual person.” Id. at 283. The Court noted that

 whatever else ‘personally identifiable information’ meant in 1988 when the VPPA was enacted, it

 did not encompass the information allegedly disclosed. Id. at 287. Other courts who have been

 confronted with such digital static identifiers and applied the “ordinary person” test are in

 agreement. See, for e.g., White v. Samsung Electronic America, Inc., No. CV 17-1775, 2019 WL

 8886485, at *5 (D.N.J. Aug. 21, 2019) (holding that plaintiffs’ IP addresses, MAC addresses, and

 zip codes do not constitute personally identifiable information).

    The Third Circuit’s decision in Nickelodeon forecloses any argument that an FID qualifies as




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 PII. An FID, like an IP address, is merely a sequence of numbers that is no different from the

 digital static identifiers at issue in Nickelodeon—and contains no personal information.

    Plaintiff’s assertion that an ordinary person could identify the individual associated with the

 FID by accessing the URL www.facebook/com[unencryptedFID] is not compelling. See Compl.

 ¶ 51. As an initial matter, Plaintiff does not allege that an ordinary person would even recognize

 the sequence of numbers as an FID or know to input it into the URL to locate the corresponding

 Meta profile. Even assuming an ordinary person has the technical know-how to recognize such a

 sequence of numbers as an FID, this multi-step investigative process does not make the FID PII.

 Indeed, the Third Circuit in Nickelodeon expressed doubt that even a social security number would

 qualify as PII as such information “might not be easily matched to such persons without consulting

 another entity, such as a credit reporting agency or government bureau.” Id. at 283. Similarly, an

 ordinary person would have to resort to a third-party source – Meta – to attempt to identify the

 individual associated with the FID—with no guarantee that the Facebook account that was returned

 contained any PII of significance.

    Indeed, even if this Court determines that an FID can constitute PII under the “ordinary person”

 standard, Plaintiff does not allege in the Complaint that her Meta profile contains any identifying

 information about her. For those courts that have determined an FID may constitute PII, to state a

 plausible claim a plaintiff must identify “personal information that can be seen on her public

 Facebook.” Solomon v. Flipps Media, Inc., No. 22CV5508JMAJMW, 2023 WL 6390055, at *3

 (E.D.N.Y. Sept. 30, 2023). For this reason, several courts have granted motions to dismiss where

 the complaint fails to allege that the plaintiff’s Facebook Page includes personally identifying

 information. See Heerde v. Learfield Commc'ns, LLC, No. 2:23-CV-04493-FLA (MAAX), 2024

 WL 3573874, at *4 (C.D. Cal. July 19, 2024) (dismissing the complaint because the plaintiffs




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 failed to allege their personal information was disclosed as they did not identify what information

 on their Facebook pages was viewable and could be used to identify them”); Ghanaat v. Numerade

 Labs, Inc., 689 F. Supp. 3d 714, 720 (N.D. Cal. 2023) (“plaintiffs’ allegations are inadequate

 because they do not allege their Facebook pages contain any personal information, such as their

 names or email addresses”).

    As a result, because Plaintiff’s FID does not constitute PII and Plaintiff fails to allege that her

 Facebook profile includes any personally identifying information, Plaintiff’s VPPA claim must be

 dismissed.

                2. Plaintiffs Claim Fails because the Allegations about Disclosure of a
                   Subscription Service is not the Same as Disclosure of Specific Video
                   Materials

    An essential part of a VPPA claim is that specific video materials or services from a video tape

 service provider must have been disclosed. Solomon, No. 22CV5508JMAJMW at *2 (E.D.N.Y.

 Sept. 30, 2023) (emphasis added). “Specific” means “definite; explicit; of an exact or particular

 nature.” Black’s Law Dictionary (6th ed. 1990). Courts have held that PII, by definition, must

 identify the particular video that a user watched. See In re Nickelodeon Consumer Privacy

 Litigation, 827 F.3d at 285 (3d. Coir. 2016) (the VPPA “protects personally identifiable

 information that identifies a specific person and ties that person to particular videos that the person

 watched.”); Eichenberger v. ESPN, Inc., 876 F.3d 979, 984 (9th Cir. 2017) (concluding that

 personally identifiable information covers information that can be used to identify any individual

 as having watched certain videos); Gonzalez v. Central Elec. Co-op, Inc. No. CIV. 08-6236-HO,

 2009 WL 3415235, at *9-11 (D. Or. Oct. 15, 2009) (holding that evidence indicating the plaintiff

 purchased one out of fifteen movies did not support that plaintiff’s personally identifiable

 information was disclosed in violation of the VPPA, where the evidence did not demonstrate the

 specific movies the plaintiff viewed).


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    Following this reasoning, district courts have dismissed VPPA claims where the plaintiff failed

 to identify the specific video the defendant disclosed. For example, in Martin v. Meredith

 Corporation, the plaintiff alleged that the defendant disclosed the name of the webpages the

 defendant’s consumers accessed on its website, some of which included videos. See 657 F. Supp.

 3d 277, 284 (S.D.N.Y. 2023), appeal withdrawn, No. 23-412, 2023 WL 4013900 (2d Cir. May 24,

 2023). The District Court for the Southern District of New York dismissed the plaintiff’s VPPA

 claim finding that the allegations in the complaint left out essential information for a VPPA claim,

 including: “(1) whether the webpage contains a video; (2) if so, the name of the “specific video

 materials” on the page; (3) whether there are multiple videos on the page and, if so, which “specific

 video materials” were requested or obtained by the website visitor; and (4) whether the website

 visitor “requested or obtained” any videos at all, or instead merely read an article on the website.”

 Id. The Court noted that even for those webpages that included videos, disclosing the name or the

 URL associated with the video would not be sufficient to state a VPPA claim. Id.

    Here, Plaintiff alleges that Defendant disclosed to Meta that Plaintiff requested or obtained a

 subscription to access the video materials or services on the Website, along with Plaintiff’s FID.

 See Compl. ¶ 3; 52. Not only does Plaintiff fail to identify any specific videos that were requested

 or obtained by Plaintiff which were disclosed by Defendant, but she also fails to allege that

 Defendant disclosed Plaintiff’s video history at all. Instead, Plaintiff’s allegations are limited to

 the disclosure of the fact that Plaintiff purchased a subscription to the Website in order to access

 video materials. The VPPA, however, is not concerned with the disclosure of a consumer’s

 subscription to access video materials on a website; the VPPA is concerned with the disclosure of

 specific video materials which were requested or obtained by a consumer.

    Put differently, in the context of an actual entertainment video rental service (like Blockbuster)




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 that the VPPA was meant to cover, it would not be a violation of the VPPA for Blockbuster to

 reveal that someone was a consumer of its services. Rather, it is a violation if Blockbuster disclosed

 the specific videos requested or obtained by its consumers. Again, “[t]he point of the VPPA, after

 all, is not so much to ban the disclosure of user or video data; it is to ban the disclosure of

 information connecting a certain user to certain videos.” In re Hulu Priv. Litig., 86 F. Supp. at

 1095 (N.D. Cal. 2015). The statute ties the definition of PII to disclosing information about specific

 video materials and not the fact that a consumer purchased a subscription on a website.

                                            CONCLUSION

         Consequently, given that (1) the VPPA does not apply to SimpleNursing; (2) Plaintiff does

 not sufficiently allege how actual PII related to this Plaintiff was alleged disclosed; and (3) Plaintiff

 fails to adequately allege that Defendant disclosed specific videos or materials that Plaintiff

 requested or obtained, Plaintiff fails to state a cause of action under the VPPA and the Complaint

 must be dismissed.

                                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        The undersigned does hereby certify that, on January 3, 2025, a copy of the foregoing

 document was served on all counsel of record, via CM/ECF.


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 Dated: January 3, 2025




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